             Case 2:12-cr-00432-JAM Document 18 Filed 02/19/13 Page 1 of 2


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     Acting Federal Defender
2    BENJAMIN D. GALLOWAY, Bar #214897
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    ARTURO GONZALEZ-MORAN
7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )       No. 2:12-cr-0432 JAM
                                     )
13                  Plaintiff,       )       STIPULATION AND ORDER FOR PRE-
                                     )       PLEA PSR AS TO CRIMINAL HISTORY
14        v.                         )       OF DEFENDANT GONZALEZ-MORAN
                                     )
15   ARTURO GONZALEZ-MORAN,          )       Date: March 19, 2013
                                     )       Time: 9:45 a.m.
16                  Defendant.       )       Judge: Hon. John A. Mendez
                                     )
17   _______________________________ )
18        Assistant United States Attorney MICHAEL D. MCCOY, counsel for the
19   plaintiff United States of America, and defendant ARTURO GONZALEZ-
20   MORAN, by and through his counsel BENJAMIN GALLOWAY, respectfully
21   request that this Court order the Probation Office to prepare a pre-
22   plea presentence report as to the criminal history of defendant
23   Gonzalez-Moran, and serve it on the parties prior to the next hearing
24   date.   The parties have agreed that the requested report would aid the
25   / / /
26   / / /
27   / / /
28   / / /
              Case 2:12-cr-00432-JAM Document 18 Filed 02/19/13 Page 2 of 2


1    parties toward resolving the case.
2
3    Dated:    February 15, 2013               Respectfully submitted,
4                                              JOSEPH SCHLESINGER
                                               Acting Federal Defender
5
6
                                               /s/ Benjamin Galloway
7                                              BENJAMIN D. GALLOWAY
                                               Assistant Federal Defender
8                                              Attorney for Defendant
                                               ARTURO GONZALEZ-MORAN
9
     Dated:    February 15, 2013
10
                                               BENJAMIN B. WAGNER
11                                             United States Attorney
12
                                               /s/ Benjamin Galloway for
13                                             MICHAEL D. MCCOY
                                               Assistant U.S. Attorney
14                                             Attorney for Plaintiff
15
16
                                          O R D E R
17
18         The Court orders the United States Probation Office to prepare and
19   disclose to the parties a pre-plea presentence report as to the
20   criminal history of defendant Gonzalez-Moran.
21
           IT IS SO ORDERED.
22
23   DATED: February 15, 2013
24                                             /s/ John A. Mendez
                                               HON. JOHN A. MENDEZ
25                                             United States District Court Judge
26
27
28


     Stipulation/Order                        -2-
